Case 1:21-mj-00042-RMM Document 6 Filed 01/17/21 Page 1 of 21
                        Case 1:21-mj-00042-RMM Document 6 Filed 01/17/21 Page 2 of 21



                                                                                              FILED
                                                                                   UNITED STATES DISTRICT COURT
                                                                                        DENVER, COLORADO
                                                                                                9:37 am, Jan 14, 2021
                                                 District of Columbia
                                                                                     JEFFREY P. COLWELL, CLERK

                                                              COLORADO CASE # 21-mj-00009-MEH




                            Defendant




(name of person to be arrested)




                                                                          Issuing officer’s signature



                                                                            Printed name and title




                                        (date)                                            (date)
  (city and state)



                                                                         Arresting officer’s signature



                                                                            Printed name and title
                     Case
                     Case1:21-mj-00042-RMM
                          1:21-mj-00042-RMM Document
                                            Document61 Filed
                                                       Filed01/17/21
                                                             01/13/21 Page
                                                                      Page31of
                                                                            of21
                                                                               1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                              v.                                   )
                      Klete Derik Keller
                                                                   )      Case No.
                      DOB: XXXXXXXX                                )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                 in the
                       District of           Columbia          , the defendant(s) violated:

Code Section                                    Offense Description
                                                Obstructing Law Enforcement Engaged In Official Duties Incident to Civil
18 U.S.C. 231(a)(3)                             Disorder

                                                Knowingly Entering or Remaining in any Restricted Building or Grounds
18 U.S.C. 1752 (a)(1)&(2)                       Without Lawful Authority

40 U.S.C. 5104(e)(2)(D)(E)&(G)                  Violent Entry and Disorderly Conduct on Capitol Grounds

         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                    Special Agent Matthew Barofsky, FBI
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 

Date:             01/13/2021
                                                                                                 Judge’s signature

City and state:                         Washington, D.C.                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
         Case
         Case 1:21-mj-00042-RMM
              1:21-mj-00042-RMM Document
                                Document 1-1
                                         6 Filed
                                             Filed01/17/21
                                                   01/13/21 Page
                                                             Page4 1ofof216




                                    STATEMENT OF FACTS

        I am employed as a Special Agent of the Federal Bureau of Investigation (FBI) and have
been employed since 2010. Currently, I am assigned to a squad that investigates
Counterintelligence matters as part of the FBI Washington Field Office. The focus of my
Counterintelligence efforts has been foreign intelligence activities. My squad is based at the
Washington Field Office. As a Special Agent, I am authorized to investigate violations of laws of
the United States and am authorized to execute warrants issued under the authority of the United
States. My duties with the FBI include but are not limited to the investigation of counterintelligence
matters.

        The United States Capitol (the Capitol), which is located at First Street, SE, in Washington,
D.C., is secured 24 hours a day by United States Capitol Police (Capitol Police). Restrictions
around the Capitol include permanent and temporary security barriers and posts manned by Capitol
Police. Only authorized people with appropriate identification are allowed access inside the
Capitol. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the Capitol.
During the joint session, elected members of the United States House of Representatives and the
United States Senate were meeting in separate chambers of the Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President of the United States Michael R. Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside of the Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the Capitol
building, and Capitol Police were present and attempting to keep the crowd away from the Capitol
building and the proceedings underway inside.

        At approximately 2:00 p.m., certain individuals in the crowd forced their way through, up,
and over the barricades and Capitol Police officers, and the crowd advanced to the exterior façade
of the building. The crowd was not lawfully authorized to enter or remain in the building and,
prior to entering the building, no members of the crowd submitted to security screenings or
weapons checks by Capitol Police Officers or other authorized security officials.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the Capitol were locked or otherwise secured. Capitol Police officers attempted to
maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,
individuals in the crowd forced entry into the Capitol, including by breaking windows and by
assaulting members of the Capitol Police, as others in the crowd encouraged and assisted those
acts.
         Case
         Case 1:21-mj-00042-RMM
              1:21-mj-00042-RMM Document
                                Document 1-1
                                         6 Filed
                                             Filed01/17/21
                                                   01/13/21 Page
                                                             Page5 2ofof216




        Shortly thereafter, at approximately 2:20 p.m. members of the House and Senate, including
Vice President Pence serving as the President of the Senate, were instructed to—and did—
evacuate the chambers. Accordingly, all proceedings of the United States Congress, including the
joint session, were effectively suspended until shortly after 8:00 p.m. the same day.

       In light of the dangerous circumstances caused by the unlawful entry to the Capitol,
including the danger posed by individuals who had entered the Capitol without any security
screening or weapons check, Congressional proceedings could not resume until after every
unauthorized occupant had left the Capitol, and law enforcement could confirm the building had
been secured. The proceedings resumed at approximately 8:00 p.m. after the building had been
secured. Vice President Pence remained in the United States Capitol from the time he was
evacuated from the Senate Chamber until the session resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the Capitol building
without authority to be there.

        A search of open sources revealed a video credited to Townhall Media, a political news
organization, depicting various events that occurred at the Capitol on January 6, 2021. 1 At
approximately twelve minutes and fifty-two seconds into the video, an individual (PERSON 1) is
visible in the United States Capitol Rotunda (the Rotunda), wearing a dark-colored jacket with the
markings “USA” in white printed letters on the back. PERSON 1 can be seen in the bottom-center
of the screenshot of the video below with a red oval around him:




1
  This video is publicly accessible on the Internet at the following URL: https://www.youtube.com/
watch?v=YzxvVi8wkrU&feature=emb_title. The video is also available with dialogue from the individual
who recorded the video at the following URL: https://townhall.com/tipsheet/juliorosas/2021/01/11/watch-
townhalls-frontline-video-of-capitol-building-riot-n2582910.

                                                  2
        Case
        Case 1:21-mj-00042-RMM
             1:21-mj-00042-RMM Document
                               Document 1-1
                                        6 Filed
                                            Filed01/17/21
                                                  01/13/21 Page
                                                            Page6 3ofof216




        Beginning at approximately thirteen minutes and six seconds, law enforcement officers
attempt to remove individuals from the Rotunda and continue to do so for the next several minutes
of the video. At approximately fourteen minutes and thirty-eight seconds, PERSON 1 is still in
the Rotunda, and the back of his jacket is again visible. PERSON 1 stands taller than a number of
individuals around him and can clearly be seen as law enforcement officers repeatedly attempt to
remove him and others from the Rotunda.

       At fourteen minutes and forty-one seconds, law enforcement officers appear to push
PERSON 1 from behind. PERSON 1 can be seen standing in the Rotunda still wearing the dark-
colored USA jacket, which also appears to bear a Nike logo on the front right side and a red and
white Olympic patch on the front left side, as depicted in the below screenshot:




         Below is a photograph of what appears to be the red and white Olympic patch on the front
left side of PERSON 1’s jacket:




                                               3
        Case
        Case 1:21-mj-00042-RMM
             1:21-mj-00042-RMM Document
                               Document 1-1
                                        6 Filed
                                            Filed01/17/21
                                                  01/13/21 Page
                                                            Page7 4ofof216




        Continuing through the video, at fourteen minutes and fifty-three seconds, law enforcement
officers continue to try and remove PERSON 1, among other individuals, from the Rotunda.
PERSON 1’s bearded face is clearly visible on the left side of the video in the below screenshot
depictured in the red oval:




       Additional open-source research revealed that media outlets such as SwimSwam, a news
organization that covers competitive swimming and other related sports, identified this individual
as possibly KLETE DERIK KELLER. Your affiant has confirmed this identification.

      First, a search of Colorado’s Department of Motor Vehicles returned KLETE DERIK
KELLER’s August 2019 driver’s license photograph. By comparing this photograph to the image
of PERSON 1, your affiant reasonably believes that PERSON 1 is identical to KLETE DERIK
KELLER. The photograph affiliated with KLETE DERIK KELLER’s driver’s license is below:




                                                4
         Case
         Case 1:21-mj-00042-RMM
              1:21-mj-00042-RMM Document
                                Document 1-1
                                         6 Filed
                                             Filed01/17/21
                                                   01/13/21 Page
                                                             Page8 5ofof216




        Second, Colorado state records and publicly available information list KELLER’s height
at 6 feet, 6 inches tall, and PERSON 1 appears to be one of the tallest individuals in the video
depicting individuals in the Rotunda.

        Third, open-source research revealed that KELLER is a three-time Olympic athlete and
Olympic Gold Medalist, and PERSON 1 appears to be wearing a United States Olympic Team
jacket in the video showing him in the Rotunda.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
KLETE DERIK KELLER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to do
so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempt or conspire
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that KLETE DERIK KELLER
violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; (E) obstruct, or impede passage through or within, the Grounds or any of the Capitol
Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Finally, your affiant submits there is probable cause to believe that KLETE DERIK
KELLER violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any




                                                 5
         Case
         Case 1:21-mj-00042-RMM
              1:21-mj-00042-RMM Document
                                Document 1-1
                                         6 Filed
                                             Filed01/17/21
                                                   01/13/21 Page
                                                             Page9 6ofof216




federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.


                                              _______________________________________
                                              SPECIAL AGENT MATTHEW R. BAROFSKY
                                              FEDERAL BUREAU OF INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of January 2021.


                                              ___________________________________
                                              ROBIN M. MERIWEATHER
                                              UNITED STATES MAGISTRATE JUDGE




                                                 6
Case 1:21-mj-00042-RMM Document 6 Filed 01/17/21 Page 10 of 21
Case 1:21-mj-00042-RMM Document 6 Filed 01/17/21 Page 11 of 21
Case 1:21-mj-00042-RMM Document 6 Filed 01/17/21 Page 12 of 21
Case 1:21-mj-00042-RMM Document 6 Filed 01/17/21 Page 13 of 21
Case 1:21-mj-00042-RMM Document 6 Filed 01/17/21 Page 14 of 21
Case 1:21-mj-00042-RMM Document 6 Filed 01/17/21 Page 15 of 21
Case 1:21-mj-00042-RMM Document 6 Filed 01/17/21 Page 16 of 21
                     Case 1:21-mj-00042-RMM Document 6 Filed 01/17/21 Page 17 of 21
PS 40 (Rev. 10/14) Notice Regarding United States Passport for Criminal Defendant


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                             District
                                                       __________     of Colorado
                                                                   District of __________

          NOTICE REGARDING UNITED STATES PASSPORT FOR CRIMINAL DEFENDANT

TO:                       U.S. Department of State                             FROM:                United States District Court
                                CA/PPT/L/LA                                                              District of Colorado
                            44132 MercurH Circle                                                   901 19th Street, Room A105
                                P.O. Box 1227                                                           Denver, CO 80294
                          Sterling, VA 20166-1227

                          Fax (202) 485-6496
                 Email: CA-PPT-CourtOrders@state.gov
 ✔
      Original Notice                                                                 Notice of Disposition
Date: 01/15/2021                                                                Date:
By: s/ A. García Gallegos                                                       By:


Defendant: Klete Derik Keller                                                   Case Number:      21-mj-00009-MEH
Date of Birth:              1982                                                Place of Birth:   Nevada, USA
SSN:


Notice of Court Order (Order Date:                  01/14/2021                          )

      The above-named defendant is not permitted to apply for the issuance of a passport and/or passport card during the
      pendency of this action.
 ✔    The above-named defendant surrendered passport number 532340470                                         and/or passport card number
                            to the custody of the U.S. District Court on 01/15/2021                                         .


NOTICE OF DISPOSITION

The above case has been disposed of.

      The above order of the court is no longer in effect.
      Defendant not convicted – Document returned to defendant.
      Defendant not convicted – Document enclosed for further investigation due to evidence that the document may
      have been issued in a false name.
      Defendant convicted – Document and copy of judgment enclosed.



Distribution:
Original to case file
Department of State
Defendant (or representative)
Clerk of Court
1/20/2021              Case 1:21-mj-00042-RMM Document    6 District
                                                CM/ECF - U.S. FiledCourt:cod
                                                                     01/17/21 Page 18 of 21
                                                                                                                          TERMED

                         U.S. District Court - District of Colorado
                               District of Colorado (Denver)
              CRIMINAL DOCKET FOR CASE #: 1:21-mj-00009-MEH All Defendants


 Case title: USA v. Keller                                                              Date Filed: 01/14/2021
 Other court case number: 1:21-mj-00042-RMM District of                                 Date Terminated: 01/14/2021
                           Columbia, Washington, D.C.


 Assigned to: Magistrate Judge Michael E.
 Hegarty

 Defendant (1)
 Klete Derik Keller                                                      represented by Laura Hayes Suelau
 TERMINATED: 01/14/2021                                                                 Office of the Federal Public Defender-
                                                                                        Denver
                                                                                        633 Seventeenth Street
                                                                                        Suite 1000
                                                                                        Denver, CO 80202
                                                                                        303-294-7002
                                                                                        Fax: 303-294-1192
                                                                                        Email: laura_suelau@fd.org
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Public Defender or
                                                                                        Community Defender Appointment

                                                                                        Danny C. Onorato
                                                                                        Schertler Onorato Mead & Sears
                                                                                        901 New York Avenue NW
                                                                                        Suite 500
                                                                                        Washington, DC 20001
                                                                                        202-628-4199
                                                                                        Email: donorato@schertlerlaw.com
                                                                                        TERMINATED: 01/14/2021
                                                                                        Designation: Retained

 Pending Counts                                                                         Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                      Disposition
 None


https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?841997556077478-L_1_0-1                                                           1/4
1/20/2021       Case 1:21-mj-00042-RMM Document    6 District
                                         CM/ECF - U.S. FiledCourt:cod
                                                              01/17/21 Page 19 of 21
 Highest Offense Level (Terminated)
 None

 Complaints                                                                            Disposition
 18 U.S.C. §231(a)(3) Obstructing Law
 Enforcement Engaged in Official Duties
 incident to Civil Disorder, 18 U.S.C.
 §1752(a)(a)&(2) Knowingly Entering or
 Remaining in any Restricted Building of
 Grounds Without Lawful Authority; 40
 U.S.C. §5104(e)(2)(D)(E)&(G) Violent
 Entry and Disorderly Conduct on Capital
 Grounds



 Plaintiff
 USA                                                                     represented by Peter Andrew McNeilly
                                                                                        U.S. Attorney's Office-Denver
                                                                                        1801 California Street
                                                                                        Suite 1600
                                                                                        Denver, CO 80202
                                                                                        303-454-0127
                                                                                        Email: Peter.McNeilly@usdoj.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Federal Agency Attorney


  Date Filed            #    Docket Text
  01/14/2021             1 RULE 5 AFFIDAVIT (Arrest Warrant) as to Klete Derik Keller from the District of
                           District of Columbia, Washington, DC. as to Klete Derik Keller (1). (Attachments: # 1
                           Complaint and Statement of Facts) (nmarb, ) (Entered: 01/14/2021)
  01/14/2021             2 Arrest of Klete Derik Keller. Initial Appearance - Rule 5 set for 1/14/2021 02:00 PM in
                           Courtroom A 501 before Magistrate Judge Michael E. Hegarty. (Text Only entry)(nmarb, )
                           (Entered: 01/14/2021)
  01/14/2021             3 NOTICE OF ATTORNEY APPEARANCE: Danny C. Onorato appearing for Klete Derik
                           KellerAttorney Danny C. Onorato added to party Klete Derik Keller(pty:dft) (Onorato,
                           Danny) (Entered: 01/14/2021)
  01/14/2021             4 MOTION to Withdraw Document , MOTION to Withdraw as Attorney by Danny C
                           Onorato by Klete Derik Keller. (Onorato, Danny) (Entered: 01/14/2021)
  01/14/2021             5 ORDER granting 4 Motion to Withdraw as Attorney as to Klete Derik Keller. Danny C.
                           Onorato withdrawn from case as to Klete Derik Keller (1). ORDERED by Magistrate
                           Judge Michael E. Hegarty on 1/14/2021. Text Only Entry. (cthom, ) (Entered: 01/14/2021)
  01/14/2021             6 COURTROOM MINUTES for proceedings held before Magistrate Judge Michael E.
                           Hegarty: Initial Appearance in Rule 5(c)(3) Proceedings as to Klete Derik Keller held on
                           1/14/2021. Defendant present in custody. Defendant advised. CJA 23 provided to the
                           Court after the hearing and the Court appoints counsel. The Defendant is authorized to
                           travel to North Carolina for his upcoming scheduled trip to see his children. Any further

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?841997556077478-L_1_0-1                                                         2/4
1/20/2021              Case 1:21-mj-00042-RMM Document             6 District
                                                         CM/ECF - U.S. FiledCourt:cod
                                                                              01/17/21 Page 20 of 21
                           travel requests shall be made to the supervising Probation department. Waiver of
                           Preliminary Hearing form executed. The date, time, and location of the Defendant's next
                           court appearance in the charging district, District of Columbia, will be provided by the
                           United States Attorney Office at a later time. Defendant advised of conditions of bond and
                           remanded for processing and release. (Total time: 23 minutes, Hearing time: 2:01
                           p.m.-2:24 p.m.)

                             APPEARANCES: Peter McNeilly on behalf of the Government, Laura Suelau on behalf
                             of the defendant, Pat Hanley on behalf of pretrial. FTR: A501. (cthom, ) Text Only Entry
                             (Entered: 01/14/2021)
  01/14/2021             7 CJA 23 Financial Affidavit by Klete Derik Keller. (cthom, ) (Entered: 01/14/2021)
  01/14/2021             8 ORDER APPOINTING COUNSEL as to Klete Derik Keller by Magistrate Judge Michael
                           E. Hegarty on 1/14/2021. Text Only Entry (cthom, ) (Entered: 01/14/2021)
  01/14/2021             9 WAIVER of Rule 5 & 5.1 Hearings by Klete Derik Keller (cthom, ) (Entered: 01/14/2021)
  01/14/2021           10 Personal Recognizance Bond Entered as to Klete Derik Keller (cthom, ) (Entered:
                          01/14/2021)
  01/14/2021           11 ORDER Setting Conditions of Release by Magistrate Judge Michael E. Hegarty on
                          1/14/2021. (cthom, ) (Entered: 01/14/2021)
  01/14/2021           12 ORDER Requiring a Defendant to Appear in the District Where Charges are Pending as to
                          Klete Derik Keller by Magistrate Judge Michael E. Hegarty on 1/14/2021. (cthom, )
                          (Entered: 01/14/2021)
  01/14/2021           13 NOTICE OF ATTORNEY APPEARANCE: Laura Hayes Suelau appearing for Klete
                          Derik Keller (Suelau, Laura) (Entered: 01/14/2021)
  01/14/2021           14 Notice to District of Columbia, Washington, D.C. of Rule 5 or 32 or 40 Initial Appearance:
                          Please use PACER court links to access the public docket and documents. If the District of
                          Colorado has a surrendered passport, it is being mailed to your court via USPS certified
                          mail with return receipt. For a bond transmittal, please contact our case administration
                          specialist at [cod.docketing.uscourts.gov] If you wish to designate a different email
                          address for future transfers, please send your request to
                          InterdistrictTransfer_TXND@txnd.uscourts.gov. as to Klete Derik Keller Your case
                          number is:1:21-mj-00042-RMM. (Text Only Entry) (cthom, ) (Entered: 01/14/2021)
  01/15/2021           16 Passport Receipt as to Klete Derik Keller. Surrender of passport re 11 Bond Conditions;
                          Passport Number 532340470 issued by USA (cmadr, ) (Entered: 01/19/2021)



                                                         PACER Service Center
                                                             Transaction Receipt
                                                                01/20/2021 11:02:25
                                   PACER
                                                   BrittanyBryant:6635828:0 Client Code:
                                   Login:
                                                                              Search       1:21-mj-00009-
                                   Description: Docket Report
                                                                              Criteria:    MEH
                                   Billable
                                                   2                          Cost:        0.20
                                   Pages:
                                                                              Exempt
                                   Exempt flag: Exempt                                     Always
                                                                              reason:

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?841997556077478-L_1_0-1                                                  3/4
1/20/2021     Case 1:21-mj-00042-RMM Document    6 District
                                       CM/ECF - U.S. FiledCourt:cod
                                                            01/17/21 Page 21 of 21
PACER fee: Exempt




https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?841997556077478-L_1_0-1               4/4
